Case 14-69570-lrc      Doc 88     Filed 03/07/18 Entered 03/07/18 09:54:38           Desc Main
                                  Document      Page 1 of 4




 IT IS ORDERED as set forth below:



 Date: March 7, 2018

                                                                  _____________________________________
                                                                             Lisa Ritchey Craig
                                                                        U.S. Bankruptcy Court Judge

_______________________________________________________________


                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


     IN RE:                                         )       CHAPTER 13
                                                    )
     GARY THOMAS STEVENS,                           )       CASE NO. 14-69570 – LRC
     MICHELLE HUETTER STEVENS,                      )
                    Debtors                         )


                                                  ORDER


               On August 1, 2017, a Motion of Debtor's to Approve Loan Modification was filed
     (Doc. No. 80). At the hearing held August 24, 2017, the Court granted the Motion. The
     Debtors' Attorney has failed to submit a no opposition order in this matter, therefore
               IT IS ORDERED that the Motion is denied without prejudice for want of
     prosecution.
               The Clerk of Court is directed to serve a copy of this Order on the Debtors, Debtors’
     Counsel, Chapter 13 Trustee and all creditors and parties in interest on the attached mailing
     matrix.
                                          [END OF DOCUMENT]
Label Matrix for Case    14-69570-lrc
                  local noticing           Doc 88AmerAssist/AR
                                                      Filed 03/07/18
                                                               Solutions Entered 03/07/18 09:54:38      Desc
                                                                                           American Agencies LLC Main
113E-1                                                Document
                                                 Attn: Kovacks          Page 2 of 4        2491 Paxton St
Case 14-69570-lrc                                460 Polaris Parkway          Ste. 20         Harrisburg, PA 17111-1036
Northern District of Georgia                     Westerville, OH 43082-8212
Atlanta
Tue Mar 6 13:44:58 EST 2018
American Infosource LP                           (p)BANK OF AMERICA                           Benfcl/hfc
PO Box 268941                                    PO BOX 982238                                Po Box 3425
Oklahoma City, OK 73126-8941                     EL PASO TX 79998-2238                        Buffalo, NY 14240-3425



(p)BOULDER CREDIT SERVICES                       Boulder Credit Services                      Brookstone HOA
3250 W BIG BEAVER ROAD STE 101                   PO Box 1259                                  c/o Rome & Associates PC
TROY MI 48084-2902                               Troy, MI 48099-1259                          707 Whitlock Ave Ste E15
                                                                                              Marietta, GA 30064-3098


Capital 1 Bank                                   Cavalry Portfolio Services                   Cavalry SPV I
Attn: Bankruptcy Dept.                           500 Summit Lake Dr                           PO Box 27288
Po Box 30285                                     Ste 400                                      Tempe, AZ 85285-7288
Salt Lake City, UT 84130-0285                    Valhalla, NY 10595-2322


Cavalry SPV I, LLC                               Cba Ng                                       Cobb EMC
500 Summit Lake Drive, Ste 400                   64 Sailors Dr Ste 102                        PO Box 369
Valhalla, NY 10595-1340                          Ellijay, GA 30540-3744                       Marietta, GA 30061-0369



Melissa J. Davey                                 Eastside Medical Center                      Enhanced Recovery Corp
Melissa J. Davey, Standing Ch 13 Trustee         PO Box 1927                                  Attention: Client Services
Suite 200                                        Greenville, SC 29602-1927                    8014 Bayberry Rd
260 Peachtree Street, NW                                                                      Jacksonville, FL 32256-7412
Atlanta, GA 30303-1236

Everest Acquistion LLC                           GECRB/JC Penny                               GMAC
177 Washington Ave                               Attention: Bankruptcy                        PO Box 4622
Marietta, GA 30090-4905                          Po Box 103104                                Waterloo, IA 50704-4622
                                                 Roswell, GA 30076-9104


Galaxy Asset Purchasing                          Gas South                                    Geico Card/Merrick Bank
4730 South Fort Apache Rd                        PO Box 4298                                  PO Box 9201 Old Bethpage
Ste 300                                          Atlanta, GA 30302-4298                       Old Bethpage, NY 11804-9001
Las Vegas, NV 89147-7947


Green Point Savings                              Greenpoint Mortgage                          HFC/Beneficial Mtg Services
Po Box 130424                                    7933 Preston Rd                              Attn: Bankruptcy
Roseville, MN 55113-0004                         Montezuma, GA 31063                          961 Weigel Dr
                                                                                              Elmhurst, IL 60126-1058


HSBC Bank                                        Homeward Residential                         Household Finance
PO Box 30253                                     1525 S Beltline                              PO Box 9068
Salt Lake City, UT 84130-0253                    Coppell, TX 75019-4913                       Brandon, FL 33509-9068
Brian K. Jordan Case 14-69570-lrc           Doc 88Kramer,
                                                       Filed  03/07/18
                                                          Linkie & Taylor, LLCEntered 03/07/18 09:54:38      Desc Main
                                                                                                LVNV Funding LLC
Aldridge Pite, LLP                                     Document           Page
                                                  3565 Piedmont Road, Bldg 4     3 of 4         PO Box 10587
Suite 500 - Fifteen Piedmont Center                  Suite 205                                            Greenville, SC 29603-0587
3575 Piedmont Road, NE                               Atlanta, GA 30305-8204
Atlanta, GA 30305-1636

Medical Data Systems I                               Merrick Bank                                         Midland Funding
Attn: Bankruptcy                                     PO Box 10368                                         8875 Aero Dr Ste 200
2001 9th Ave Ste 312                                 Greenville, SC 29603-0368                            San Diego, CA 92123-2255
Vero Beach, FL 32960-6413


Ocwen Loans                                          Option One Mortgage Co/American Home Mor             Outsource Receivables
PO Box 6440                                          Ahmsi, Inc                                           372 24th St Ste 300
Carol Stream, IL 60197-6440                          P.O.Box 631730                                       Ogden, UT 84401-1438
                                                     Irving, TX 75063-0002


Matthew E. Purcell                                   Quantum3 Group LLC                                   Real Time Resolutions, Inc.
Purcell Law Firm                                     PO Box 788                                           1349 Empire Central Drive, Suite #150
Suite 300                                            Kirkland, WA 98083-0788                              Dallas, TX 75247-4029
125 Townpark Drive
Kennesaw, GA 30144-5812

Real Time Resolutions, Inc.                          Real Time Resolutions, Inc.                          (p)REAL TIME RESOLUTIONS INC
1349 Empire Central Drive                            1349 Empire Central Drive, Suite #150                PO BOX 36655
Suite 150                                            Dallas, Texas 75247-4029                             DALLAS TX 75235-1655
Dallas, TX 75247-4029


Resurgent Capital Svcs                               Rome & Associates, PC                                Stallings Fin Group
55 Beattie Pl #110                                   707 Whitlock Ave., Ste E-15                          Po Box 4430
Greenville, SC 29601-5115                            Marietta, GA 30064-3098                              Marietta, GA 30061-4430



Gary Thomas Stevens                                  Michelle Huetter Stevens                             Taylor Bean & Whitaker
1476 Fallsbrook Court                                1476 Fallsbrook Court                                4901 Vineland Rd
Acworth, GA 30101-7809                               Acworth, GA 30101-7809                               Ste 120
                                                                                                          Orlando, FL 32811-7187


Tek-collect Inc                                      U.S. Bank National Association                       C. Brent Wardrop
Pob 1269                                             c/o Ocwen Loan Servicing, LLC                        Weissman PC
Columbus, OH 43216-1269                              Attn: Bankruptcy Department                          One Alliance Center, 4th Floor
                                                     P.O. BOX 24605                                       3500 Lenox Road
                                                     West Palm Beach,FL 33416-4605                        Atlanta, GA 30326-4228

Weissman Nowack Curry Wilco
One Alliance Center, 4th Floor
3500 Lenox Rd.
Atlanta, GA 30326-4228




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
Bank of America Case 14-69570-lrc           Doc 88Boulder
                                                       Filed  03/07/18
                                                          Credit Services Entered 03/07/18 09:54:38      Desc
                                                                                            (d)Fleet Cc/Bank     Main
                                                                                                             of America
PO Box 982235                                          Document
                                                  3290 W Big Beaver Rd   Page 4 of 4        Attn: Bankruptcy
El Paso, TX 79998                                    Ste 425                                              4161 Piedmont Pkwy
                                                     Troy, MI 48084                                       Greensboro, NC 27420


Real Time Resolutions, Inc.
1349 Empire Central Drive, Suite #150
PO Box 36655
Dallas, Texas 75247-4029




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Ocwen Loan Servicing, LLC                         (u)U.S. Bank National Association                    End of Label Matrix
                                                                                                          Mailable recipients    54
                                                                                                          Bypassed recipients     2
                                                                                                          Total                  56
